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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

 CHARITABLE DAF FUND, L.P.                                §
 and CLO HOLDCO, LTD.,                                    §
 directly and derivatively,                               §
                                                          §
         Plaintiffs,                                      §
                                                          §
           v.                                             §   CAUSE NO. 3:21-cv-00842-B
                                                          §
 HIGHLAND CAPITAL MANAGEMENT,                             §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                        §
 and HIGHLAND CLO FUNDING, LTD.,                          §
 nominally,                                               §
                                                          §
         Defendants.                                      §


                 PLAINTIFFS’ MOTION TO STAY ALL PROCEEDINGS
                                                  I.
                                   NECESSITY OF MOTION
       Plaintiffs submit this Motion as a result of the effective date, August 11, 2021, of Defendant

Highland Capital Management L.P.’s Chapter 11 plan of reorganization (the “Plan”). The Plan

purports to exculpate Defendants from liability and enjoin Plaintiffs from pursuing actions against

them. It also contains an assertion of exclusive jurisdiction by the bankruptcy court.

       An appeal of the Plan, which the Fifth Circuit certified for direct appeal under 28 U.S.C. §

158(d), is now before the Court of Appeals and captioned In re Highland Capital Management,

L.P., No. 21-10449 (the “Fifth Circuit Appeal”). Each of the issues noted above is raised in the

appeal. If successful, the appeal will overturn the exculpation, injunction, and assertion of

exclusive jurisdiction in the Plan, allowing Plaintiffs to proceed with this action in this Court.

       In the meantime, however, Plaintiffs are enjoined from participating further in this pending

case and therefore ask that it be stayed pending the outcome of the Fifth Circuit Appeal.


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                                                  II.
                                          BACKGROUND
        On August 9, 2021, Plaintiffs received notice that the Plan was now effective. In re

Highland Capital Management, L.P., No. 19-34054, Doc. 2700. Although one condition precedent

to the effectiveness of the Plan is finality of the confirmation order, which can only happen once

all appeals are resolved, that and all other conditions are waivable by the Debtor. Id., Doc. 1943 at

pdf 142-43 (Art. VIII at pp. 45-46). The Debtor’s notice, which waived finality and any other

unsatisfied conditions, makes the Plan’s exculpation provisions and injunctions immediately

effective.

        As to exculpation, the Plan states,

                 Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
        extent permitted by applicable law, no Exculpated Party will have or incur, and
        each Exculpated Party is hereby exculpated from, any claim, obligation, suit,
        judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and
        liability for conduct occurring on or after the Petition Date in connection with
        or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
        negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation
        of votes for, or confirmation of, the Plan; (iii) the funding or consummation of
        the Plan (including the Plan Supplement) or any related agreements,
        instruments, or other documents, the solicitation of votes on the Plan, the offer,
        issuance, and Plan Distribution of any securities issued or to be issued pursuant
        to the Plan, including the Claimant Trust Interests, whether or not such Plan
        Distributions occur following the Effective Date; (iv) the implementation of the
        Plan; and (v) any negotiations, transactions, and documentation in connection
        with the foregoing clauses (i)-(iv); provided, however, the foregoing will not
        apply to (a) any acts or omissions of an Exculpated Party arising out of or
        related to acts or omissions that constitute bad faith, fraud, gross negligence,
        criminal misconduct, or willful misconduct or (b) Strand or any Employee other
        than with respect to actions taken by such Entities from the date of appointment
        of the Independent Directors through the Effective Date. This exculpation shall
        be in addition to, and not in limitation of, all other releases, indemnities,
        exculpations, any other applicable law or rules, or any other provisions of this
        Plan, including ARTICLE IV.C.2, protecting such Exculpated Parties from
        liability.



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Id. at pdf 144-45 (Art. IX.C at pp. 47-48 (emphasis added)). “Exculpated Parties” is a defined

term in the Plan that includes the Defendants in this action. Id. at pdf 106 (Art. I at p. 9).

       As to the injunction, the Plan states,

                Except as expressly provided in the Plan, the Confirmation Order, or a
       separate order of the Bankruptcy Court, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, with respect to any
       Claims and Equity Interests, from directly or indirectly (i) commencing,
       conducting, or continuing in any manner any suit, action, or other proceeding
       of any kind (including any proceeding in a judicial, arbitral, administrative or
       other forum) against or affecting the Debtor or the property of the Debtor, (ii)
       enforcing, levying, attaching (including any prejudgment attachment),
       collecting, or otherwise recovering, enforcing, or attempting to recover or
       enforce, by any manner or means, any judgment, award, decree, or order against
       the Debtor or the property of the Debtor, (iii) creating, perfecting, or otherwise
       enforcing in any manner, any security interest, lien or encumbrance of any kind
       against the Debtor or the property of the Debtor, (iv) asserting any right of
       setoff, directly or indirectly, against any obligation due to the Debtor or against
       property or interests in property of the Debtor, except to the limited extent
       permitted under Sections 553 and 1141 of the Bankruptcy Code, and (v) acting
       or proceeding in any manner, in any place whatsoever, that does not conform
       to or comply with the provisions of the Plan.

               The injunctions set forth herein shall extend to, and apply to any act of
       the type set forth in any of clauses (i)-(v) of the immediately preceding
       paragraph against any successors of the Debtor, including, but not limited to,
       the Reorganized Debtor, the Litigation SubTrust, and the Claimant Trust and
       their respective property and interests in property.

               Subject in all respects to ARTICLE XII.D, no Enjoined Party may
       commence or pursue a claim or cause of action of any kind against any
       Protected Party that arose or arises from or is related to the Chapter 11 Case,
       the negotiation of the Plan, the administration of the Plan or property to be
       distributed under the Plan, the wind down of the business of the Debtor or
       Reorganized Debtor, the administration of the Claimant Trust or the Litigation
       Sub-Trust, or the transactions in furtherance of the foregoing without the
       Bankruptcy Court (i) first determining, after notice and a hearing, that such
       claim or cause of action represents a colorable claim of any kind, including, but
       not limited to, negligence, bad faith, criminal misconduct, willful misconduct,
       fraud, or gross negligence against a Protected Party and (ii) specifically
       authorizing such Enjoined Party to bring such claim or cause of action against
       any such Protected Party; provided, however, the foregoing will not apply to a
       claim or cause of action against Strand or against any Employee other than with
       respect to actions taken, respectively, by Strand or by such Employee from the

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        date of appointment of the Independent Directors through the Effective Date.
        The Bankruptcy Court will have sole and exclusive jurisdiction to determine
        whether a claim or cause of action is colorable and, only to the extent legally
        permissible and as provided for in ARTICLE XI, shall have jurisdiction to
        adjudicate the underlying colorable claim or cause of action.

Id. at pdf 147-48 (Art. IX.F at pp. 50-51 (emphasis added)). “Enjoined Parties” is a defined term

in the Plan that includes Plaintiffs. Id. at pdf 105 (Art. I; ¶ 56 at p.8).

        Because these provisions are currently in force and prohibit Plaintiffs from continuing this

action, and because the Fifth Circuit Appeal includes direct challenges to the validity of these very

provisions, Plaintiffs respectfully submit that the most efficient course of action is for this Court

to stay this action until the Fifth Circuit Appeal is resolved. Plaintiffs expect that any resolution of

the Fifth Circuit Appeal will necessarily determine that the Plan’s exculpation and injunction

provisions absolve Defendants of any liability or, alternatively, that this action can proceed.

                                                   III.

                                             ARGUMENT

        This Court should exercise its inherent powers to stay all proceedings in the case until the

Fifth Circuit Appeal is decided.

        The Fifth Circuit has long held that “[t]he district court possesses the inherent power to

control its docket.” Marine Chance Shipping v. Sebastian, 143 F.3d 216, 218 (5th Cir. 1998). The

exercise of that power is a discretionary one. E.g., Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir.

1987) (“A trial court has broad discretion and inherent power to stay discovery until preliminary

questions that may dispose of the case are determined.”)

        Here, Plaintiffs ask this Court to exercise discretion in favor of efficiency and to stay all

proceedings. Plaintiffs respectfully submit that, until the appeal is resolved, many complex legal

questions exist that may affect the viability of this action or the forum in which it should be


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litigated. Those questions—including the validity of the exculpation and injunction provisions

quoted above—will likely be resolved by the Fifth Circuit Appeal. And therefore, Plaintiffs

submit, judicial economy may be gained by staying all proceedings in this action pending that

appeal.

                                                 IV.

                                          CONCLUSION

          Plaintiffs appear to be wholly prohibited from participating further in this action by the

now-effective terms of the Plan that purport to enjoin Plaintiffs and exculpate Defendants. In light

of their inability to conduct the litigation and the pending Fifth Circuit Appeal, which that court

has certified for direct appeal, Plaintiffs respectfully submit that the most appropriate course for

this Court is to stay all proceedings until the appeal is decided. Plaintiffs therefore respectfully

request a stay and all further relief to which they may be entitled.

Dated: August 26, 2021                                 Respectfully submitted,

                                                       SBAITI & COMPANY PLLC

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                           CERTIFICATE OF CONFERENCE

       I hereby certify that, in a series of communications between August 13 and 26, 2021, I
conferred with Defendant’s counsel regarding this Motion, and counsel indicated that they are
opposed to the relief sought in this Motion.



                                                  /s/ Jonathan Bridges
                                                  Jonathan Bridges




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